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                                   Request for Dismissal - 13 Page 1 of 1

                                    UNITED STATES BANKRUPTCY COURT

                                             Northern District of Georgia


In     Debtor(s)
Re:    Sherry Nicole Harris                                  Case No.: 17−69669−sms
       5228 Oakdale Rd SE                                    Chapter: 13
       Smyrna, GA 30082                                      Judge: Sage M. Sigler

       xxx−xx−5716




                                              ORDER OF DISMISSAL



The Debtor(s) has filed a request for dismissal pursuant to 11 U.S.C. Section 1307(b). Therefore,

  IT IS ORDERED THAT THIS CASE IS DISMISSED.

Any unpaid filing fees must be paid by the Debtor(s) to the Clerk of the United States Bankruptcy Court within
fourteen (14) days of the date of the entry of this Order.

The Clerk is directed to serve a copy of this Order on the Debtor(s), the Attorney for the Debtor(s), the Chapter 13
Trustee, all creditors and other parties in interest. The Attorney for the Debtor(s) shall serve a copy of this Order upon
any employer of the Debtor(s) who is subject to an employer deduction order.




                                                             Sage M. Sigler
                                                             United States Bankruptcy Judge


Dated: March 4, 2020

Form 164
